            Case 1:21-cv-00445-CJN Document 32 Filed 04/22/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              )
US DOMINION, INC., DOMINION                   )
VOTING SYSTEMS, INC., and                     )
DOMINION VOTING SYSTEMS                       )
CORPORATION                                   )
c/o Cogency Global                            )
1025 Vermont Ave., NW, Suite 1130             )
Washington, DC 20005,                         )
                                              )
                Plaintiffs,                   )              Case No. 1:21-cv-00445-CJN
                                              )                  Judge Carl J. Nichols
       v.                                     )
                                              )
MY PILLOW, INC. and                           )
MICHAEL J. LINDELL                            )
343 E 82nd Street #102                        )
Chaska, MN 55318,                             )
                                              )
                Defendants.                   )
                                              )


      MOTION FOR ADMISSION PRO HAC VICE OF ABRAHAM S. KAPLAN
   ________________________________________________________________________
                Nathan Lewin moves for the admission of Abraham S. Kaplan of the law firm of

Parker Daniels Kibort LLC, pro hac vice pursuant to Local Civil Rule 83.2, subdivisions (c) and

(d), as counsel for My Pillow in the above-captioned action. This motion is accompanied by the
declaration of Mr. Kaplan, which certifies and establishes the following:

                1.      Mr. Kaplan has read and is familiar with the Local Rules of this Court.

                2.      Pursuant to Local Civil Rule 7, subdivision (m), on March 26, 2021, Mr.

Parker exchanged email communications with Thomas Clare, counsel for Plaintiffs. Mr. Parker

informed Mr. Clare that Defendant My Pillow, Inc. would be filing a motion for admission pro

hac vice. Mr. Clare stated that Plaintiffs will not oppose such a motion.

                3.      Accordingly, Nathan Lewin, as a sponsoring member of the Bar of this

Court, respectfully requests the Court permit, Abraham S. Kaplan to appear pro hac vice in this
          Case 1:21-cv-00445-CJN Document 32 Filed 04/22/21 Page 2 of 2




matter.


                                       Respectfully submitted,

DATED: April 22, 2021                 LEWIN & LEWIN, LLP


                                      By     /s/ Nathan Lewin
                            Nathan Lewin (D.C. Bar No. 38299)
                                         888 17th Street NW
                                         Fourth Floor
                                         Washington, DC 20006
                                         Telephone: (202) 828-1000
                                         nat@lewinlewin.com

                                      Counsel for Defendant My Pillow, Inc.

                                      PARKER DANIELS KIBORT LLC

                                       By s/ Abraham S. Kaplan
                                         Andrew D. Parker (MN Bar No. 195042)
                                         Elizabeth S. Wright (MN Bar No. 184111)
                                         Joseph A. Pull (D.C. Bar No. 982468)
                                         Gregory N. Arenson (MN Bar No. 398276)
                                         Abraham S. Kaplan (MN Bar No. 399507)
                                         888 Colwell Building
                                         123 N. Third Street
                                         Minneapolis, MN 55401
                                         Telephone: (612) 355-4100
                                         Facsimile: (612) 355-4101
                                         parker@parkerdk.com
                                         wright@parkerdk.com
                                         pull@parkerdk.com
                                         arenson@parkerdk.com
                                         kaplan@parkerdk.com

                                      Counsel for Defendant My Pillow, Inc.




                                         1
